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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

DEVERICK SCOTT,                                                                   PLAINTIFF
ADC #131042

v.                                  4:19CV00859-JM-JTK

CORRECT CARE SOLUTIONS, et al.                                                 DEFENDANTS

                                           ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney. After a review of those proposed findings and

recommendations, and the timely objections received thereto, as well as a de novo review of the

record, the Court adopts them in their entirety. Accordingly,

       IT IS, THEREFORE, ORDERED that Defendants’ Motion for Summary Judgment (Doc.

No. 87) is GRANTED, and Plaintiff’s Complaint is DISMISSED with prejudice.

       An appropriate Judgment shall accompany this Order.

       IT IS SO ORDERED this 3rd day of May, 2021.



                                            _________________________________
                                            JAMES M. MOODY, JR.
                                            UNITED STATES DISTRICT JUDGE




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